              Case 5:19-cr-00557-XR Document 1 Filed 08/06/19 Page 1 of 3
                                                                                              FILED
                                                                                           AUG -62019
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION
                                                                                     WESTES
                                                                                      CLERK,   U.S.   DSTRi   LERK




UNITED STATES OF AMERICA,                      §
          Plaintiff,                           §
VS.                                            §         INFORMATION
                                               §
                                               §         Ct. 1: 18 U.S.C. §1956(a) & (h)
KUNAL KALRA,                                   §         Conspiracy to Launder
                                               §         Monetary Instruments
               Defendant.                      §


THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT ONE
                                     [18 U.S.C.    § 1956(a)   & (h)]

       From on or about September 2015 and continuing through and including the date of this

indictment, in the Western District of Texas, the Southern District of Texas, and the Central

District of California, Defendant,

                                        KUNAL KALRA,

did knowingly combine, conspire, confederate, and agree with others known and unknown, to

knowingly conduct and attempt to conduct financial transactions affecting interstate commerce,

knowing that the property involved in such financial transactions represented the proceeds of

some form of unlawful activity, such property being, in fact, the proceeds of a specified unlawful

activity, to wit: conspiracy to distribute a controlled substance in violation of 21 U.S.C.    §   841 &

846, knowing that the transaction is designed in whole or in part to conceal or disguise the

nature, the location, the source, the ownership, or the control of the proceeds of said specified

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i), all in

violation of Title 18, United States Code, Section 1956(h).
              Case 5:19-cr-00557-XR Document 1 Filed 08/06/19 Page 2 of 3




    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed.R.Crim.P. 32.2]
                                                   I.

                    Money Laundering Violations and Forfeiture Statutes
      [Title 18 U.S.C. § 1956(a)(1)(B)(i) and (h), subject to forfeiture pursuant to Title
                                    18 U.S.C. § 982(a)(1)]

       As a result of the foregoing criminal violations set forth in Count One, the United States of

America gives notice to Defendant KUNAL KALRA of its intent to seek the forfeiture of the

property described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.      §


982(a)(1), which states:

       Title 18 U.S.C. § 982. Criminal forfeiture
           (a)(1) The court, in imposing sentence on a person convicted of an offense in
           violation of section 1956, 1957.. . of this title, shall order that the person forfeit
           to the United States any property, real or personal, involved in such offense, or
           any property traceable to such property.

This Notice of Demand for Forfeiture includes, but is not limited to the following property:

                                               II.
                                         Money Judgment

       Money Judgment: A sum of money equal to Three Hundred Ninety-One
       Thousand Four Hundred Seven Dollars ($391,407.00) which represents the
       value of any proceeds obtained directly or indirectly, and any property involved in,
       the violations of Count One, for which Defendant KUNAL KALRA is liable.

                                                 III.
                                          Substitute Assets

       If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of Defendant KUNAL KALRA:

       a.      cannot be located upon the exercise of due diligence;
       b.      has been transferred or sold to, or deposited with, a third party;
       c.      has been placed beyond the jurisdiction of the court;
       d.      has been substantially diminished in value; or
       e.      has been commingled with other property which cannot be divided without
               difficulty;
              Case 5:19-cr-00557-XR Document 1 Filed 08/06/19 Page 3 of 3




it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute assets pursuant to Title 21 U.S.0    §   853(p) and Fed.

R. Crim. P. 32.2(e)(l).


JOHN F. BASH
UNITED STATES ATTORNEY


BY:
SA    HWANN
Assistant United States Attorney
